Case 2:19-cv-00784-HCN-DBP Document 106 Filed 09/18/20 PageID.1425 Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF UTAH, CENTRAL DIVISION


     SUNSTATE EQUIPMENT CO., LLC., a                       MEMORANDUM DECISION AND
     Delaware limited liability company,                   ORDER DENYING DEFENDANTS’
                                                           SHORT FORM DISCOVERY MOTION
                            Plaintiff,                     FOR PROTECTIVE ORDER
     v.
                                                           Case No. 2:19-cv-784 HCN
     EQUIPMENTSHARE, a Delaware
     Corporation, RHETT BAUTISTA, STEVE                    District Judge Howard C. Nielsen, Jr.
     MEADOWS, and CASEY HIGLEY,
     individuals,                                          Magistrate Judge Dustin B. Pead

                            Defendants.


          This case is referred to the undersigned based upon 28 U.S.C. § 636(b)(1)(A) from

 District Judge Howard C. Nielsen, Jr. (ECF No. 29.) Defendants seeks a protective order. (ECF

 No. 103.) As outlined below the court will deny the motion. 1

                                               BACKGROUND

          In July 2020, Defendant Bautista suspected he was being monitored while driving a

 vehicle owned by Defendant EquipmentShare. “Defendants discovered a device with GPS

 tracking and audio monitoring capabilities installed on the vehicle.” Mtn. p. 2. Plaintiff Sunstate

 Equipment Co., confirmed that it retained an investigation firm to place “an unspecified number

 of devices on Defendants’ vehicles and conduct visual surveillance of Defendants.” Id. Plaintiff

 avers that the tracking and surveillance stopped in December 2019. One device, however,

 remained installed through July 2020.


 1
  The court finds oral argument is unnecessary and decides the motion on the basis of the written memoranda. See
 DUCivR 7-1(f).
Case 2:19-cv-00784-HCN-DBP Document 106 Filed 09/18/20 PageID.1426 Page 2 of 3




                                            DISCUSSION

        Utah Code § 76-9-408 makes it unlawful to install a tracking device on a vehicle except

 in certain circumstances. For example, the section does not apply to “a peace officer, acting in

 the peace officer’s official capacity, who installs a tracking device on a motor vehicle in the

 course of a criminal investigation or pursuant to a court order.” Utah Code Ann. § 76-9-408.

 There is also an exception for a “licensed private investigator” who installs “the tracking device

 for a legitimate business purpose”, if there is not a protective order prohibiting such installation

 and tracking. Id.

        Defendants argue Sunstate’s secretive monitoring “furthers no legitimate business

 purpose, violates Defendants’ reasonable expectation of privacy, exceeds any legitimate use in

 an ordinary commercial dispute involving trade secret allegations, and is designed to annoy,

 embarrass, and harass Defendants in violation of [Federal] Rule 26(c)(1).” Mtn. p. 2. Defendants

 request an order prohibiting Sunstate from installing any tracking device on their vehicles,

 prohibiting Sunstate from engaging in any surveillance or tracking without first obtaining court

 permission, and that Sunstate be ordered to provide information regarding its surveillance

 activity. In contrast, Sunstate asserts it engaged in tracking via a licensed private investigator that

 complied with the law. Sunstate’s purpose behind the tracking was to determine compliance with

 the temporary restraining order regarding the misappropriation of trade secrets.

        On initial review, the secret tracking of Defendants seems offensive and concerning.

 Here, however, the court is persuaded that Sunstate’s activities complied with Utah law. Sunstate

 sought to determine compliance with the temporary restraining order, engaged a licensed private

 investigator to do so, and there was not a protective order prohibiting such activates. Because

 Sunstate’s activities complied with the law, there is no basis to grant Defendants’ motion. In




                                                    2
Case 2:19-cv-00784-HCN-DBP Document 106 Filed 09/18/20 PageID.1427 Page 3 of 3




 addition, Defendants fail to support their request for information regarding Sunstate’s

 surveillance activity, and regardless, such information is likely to fall within the purview of the

 work product privilege.

        Defendants’ motion is therefore DENIED.



                  DATED this 18 September 2020.




                                               Dustin B. Pead
                                               United States Magistrate Judge




                                                   3
